       Case 2:21-cv-00339-DLR Document 86 Filed 03/02/23 Page 1 of 2




 1   Kathleen E. Brody (026331)
     kathy@mscclaw.com
 2   Molly Brizgys (29216)
 3   molly@mscclaw.com
     MITCHELL STEIN CAREY CHAPMAN, PC
 4   2600 North Central Avenue, Suite 1000
     Phoenix, Arizona 85004
 5
     Telephone: (602) 358-0290
 6   Facsimile: (602) 358-0291
 7   Peter Rukin (SBN 178336)*
 8   prukin@rukinhyland.com
     Jessica Riggin (SBN 281712)*
 9   jriggin@rukinhyland.com
     RUKIN HYLAND & RIGGIN LLP
10
     1939 Harrison Street, Suite 925
11   Oakland, California 94612
     Telephone: (415) 421-1800
12   Facsimile: (415) 421-1700
13
     (*Admitted Pro hac vice)
14
     Attorneys for Plaintiffs
15
                                UNITED STATES DISTRICT COURT
16
                                FOR THE DISTRICT OF ARIZONA
17
18   F.R., on his own behalf and on behalf of his No. CV-21-00339-PHX-DLR
     minor child, A.A.,
19
                                                  PLAINTIFFS’ NOTICE OF SERVED
20                 Plaintiffs,                    NOTICE OF DEPOSITION
            v.
21
     United States of America,
22
23                  Defendant.

24
25
26
27
28
       Case 2:21-cv-00339-DLR Document 86 Filed 03/02/23 Page 2 of 2




 1         NOTICE IS HEREBY GIVEN that on March 1, 2023, Plaintiffs served their
 2   amended notice of deposition for Robert Heredia on the United States by e-mail to the
 3   address set forth below.
 4
           GARY M. RESTAINO
 5         United States Attorney
           District of Arizona
 6         KATHERINE R. BRANCH
 7         Assistant U.S. Attorney
           Arizona State Bar No. 025128
 8         Two Renaissance Square
           40 North Central Avenue, Suite 1800
 9         Phoenix, Arizona 85004-4449
10         Telephone: (602) 514-7500
           Civil Fax: (602) 514-7760
11         Main Fax: (602) 514-7693
12         Email: Katherine.Branch@usdoj.gov
           Attorneys for Defendant
13
14         RESPECTFULLY SUBMITTED this 2nd day of March, 2023.

15
                                            RUKIN HYLAND & RIGGIN LLP
16
                                                     By: /s/ Peter Rukin
17                                                      Peter Rukin
18                                                     Jessica Riggin

19
20                                    MITCHELL STEIN CAREY CHAPMAN, PC
                                                      Kathleen E. Brody
21                                                     Molly Brizgys
22                                                Attorneys for Plaintiffs
23
24
25
26
27
28
                                               -1-
